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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                (EASTERN DIVISION)


 JOSEPH DUDAS, individually and on behalf           Case No.: 20-CV-06008 (MHW) (CMV)
 of all persons and entities similarly situated,

                        Plaintiff,

                v.

 SPINNAKER RESORTS, INC.,
                                                    Judge Michael H. Watson
                        Defendant.                  Magistrate Judge Chelsey M. Vascura


   DEFENDANT SPINNAKER RESORTS, INC.’S MOTION FOR A PROTECTIVE
ORDER TO TEMPORARILY STAY DISCOVERY AND VACATE ALL DEADLINES IN
    THE NOTICE OF PRELIMINARY PRETRIAL CONFERENCE PENDING A
 DECISION ON THE MOTION TO DISMISS PLAINTIFF’S COMPLAINT FOR LACK
                    OF PERSONAL JURISDICTION

       Defendant Spinnaker Resorts, Inc. (“Defendant” or “SRI”), by and through its undersigned

counsel and pursuant to Federal Rule of Civil Procedure 26(c), respectfully moves this Court for

an Order staying all discovery and vacating all deadlines in the Court’s Notice of Preliminary

Pretrial Conference (the “Notice”) (ECF No. 13) pending resolution of Defendant’s motion to

dismiss for lack of personal jurisdiction. In support thereof, Defendant states:

       1.      This Court has broad discretion to control its docket and the discovery process. See

Fed. R. Civ. P. 26(c); Clinton v. Jones, 520 U.S. 681, 706 (1997). This includes the power to limit

or stay discovery until preliminary questions which may dispose of the case are answered. Bangas

v. Potter, 145 Fed. App’x 139, 141 (6th Cir. 2005). Limitations on pretrial discovery may be

particularly appropriate where claims may be dismissed based on legal determinations that could

not have been altered by any further discovery. Gettings v. Bldg. Laborers Local 310 Fringe

Benefits Fund, 349 F.3d 300, 304 (6th Cir. 2003). In evaluating whether a stay of discovery is
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appropriate, the Court weighs the burden of proceeding with discovery upon the party from whom

discovery is sought against the hardship which would be worked by a denial of discovery. Bowens

v. Columbus Metro. Library Bd. of Tr., No. 2:10-cv-00219, 2010 WL 3719245, at *2 (S.D. Ohio

Sept. 16, 2010).

       2.      A stay of discovery and vacation of the deadlines in the Notice is appropriate here

because the pending motion to dismiss will very likely dispose of this action in its entirety. To

conduct costly discovery while the motion is pending would thus be unduly burdensome to

Defendant and an inefficient use of party and judicial resources. A temporary stay and vacation

of current discovery deadlines would avoid this wasteful exercise and it would not prejudice

Plaintiff’s prosecution of his case in any significant way.

       3.      If a stay of discovery is not granted, Defendant also will be put at risk of waiving

its personal jurisdiction challenge. Participation in discovery may give Plaintiff the expectation

that Defendant will defend the case on the merits or cause the Court to go to wasted effort if the

motion to dismiss is granted. Means v. U.S. Conference of Catholic Bishops, 836 F.3d 643, 648

(6th Cir. 2016). A stay is therefore necessary to protect Defendant from a risk of waiving its

jurisdictional challenge.

       4.      The additional grounds, citations, and authority for this Motion are contained in the

attached memorandum in support, and are incorporated herein by reference.

       5.      The undersigned counsel has consulted with Plaintiff’s counsel to request consent

for a stay of discovery and vacation of all deadlines in the Notice, pursuant to S.D. Ohio Civ. R.

7.3. Plaintiff has responded that he will not provide consent for a stay of discovery and vacation

of the Notice unless Defendant agrees to third-party jurisdictional discovery. Defendant will not

accept this condition because, as explained in the motion to dismiss, there is no basis for the



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exercise of personal jurisdiction over Defendant based on any alleged conduct of its wholly-owned

subsidiaries or the independent telemarketing vendors hired by the subsidiaries. Accordingly,

Defendant files this motion opposed.

       6.      For all the reasons stated in these submissions, this Court should grant Defendant’s

motion and enter an Order staying all discovery and vacating the deadlines in the Notice.

Dated: February 19, 2021


                                             Respectfully submitted,


                                             /s/ James H. Gordon
                                             James H. Gordon – Trial Attorney (0068454)
                                             Jeremy Kopp (0090577)
                                             ANSA ASSUNCAO LLP
                                             Two Miranova Place, Suite 300
                                             Columbus, Ohio 43215
                                             T: (614) 441-8682/4095
                                             F: (614) 441-4471
                                             james.gordon@ansalaw.com
                                             jeremy.kopp@ansalaw.com
                                                     - and –
                                             Robert A. Assuncao (pro hac vice)
                                             Steven F. Gooby (pro hac vice)
                                             ANSA ASSUNCAO LLP
                                             100 Matawan Road, Suite 410
                                             Matawan, New Jersey 07747
                                             T: (732) 993-9850
                                             F: (732) 993-9851
                                             robert.assuncao@ansalaw.com
                                             steven.gooby@ansalaw.com

                                             Attorneys for Defendant
                                             Spinnaker Resorts, Inc.




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                (EASTERN DIVISION)


 JOSEPH DUDAS, individually and on behalf           Case No.: 20-CV-06008 (MHW) (CMV)
 of all persons and entities similarly situated,

                        Plaintiff,

                v.

 SPINNAKER RESORTS, INC.,
                                                    Judge Michael H. Watson
                        Defendant.                  Magistrate Judge Chelsey M. Vascura


      MEMORANDUM IN SUPPORT OF DEFENDANT SPINNAKER RESORTS, INC.’S
     MOTION FOR A PROTECTIVE ORDER TO TEMPORARILY STAY DISCOVERY
     AND VACATE ALL DEADLINES IN THE NOTICE OF PRELIMINARY PRETRIAL
         CONFERENCE PENDING A DECISION ON THE MOTION TO DISMISS
        PLAINTIFF’S COMPLAINT FOR LACK OF PERSONAL JURISDICTION

        Defendant Spinnaker Resorts, Inc. (“Defendant” or “SRI”), by and through its undersigned

counsel, respectfully submits this memorandum in support of its motion for a protective order to

temporarily stay discovery and vacate all deadlines in the notice of preliminary pretrial conference

pursuant to Federal Rule Civil Procedure 26(c), pending a decision on the motion to dismiss

Plaintiff’s Complaint for lack of personal jurisdiction.

I.      STATEMENT OF FACTS AND PROCEDURAL HISTORY

        On November 20, 2020, Plaintiff filed his putative Class Action Complaint against SRI.

(ECF No. 1). Plaintiff’s single cause of action is brought under the TCPA, alleging that he received

telemarketing calls despite his number being on the national Do Not Call registry. (Id., ¶¶ 44-48).

        On January 12, 2021, Defendant moved to dismiss the Complaint for lack of personal

jurisdiction, pursuant to Federal Rule of Civil Procedure 12(b)(2). (ECF No. 8). Plaintiff

responded to the motion on February 2, and Defendant filed a reply on February 16. (ECF Nos.
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12, 14). The motion is fully briefed and awaiting a decision by the Court. If Defendant’s motion

to dismiss is granted, it would dispose of the entire action. (See ECF Nos. 8, 14).

       On February 16, 2021, the Court issued a Notice of Preliminary Pretrial Conference (the

“Notice”). (ECF No. 13). In the Notice, the Court (1) scheduled a preliminary pretrial conference

on March 2, 2021; and (2) instructed the parties to file a Rule 26(f) report no later than February

23, 2021. (ECF No. 13).

       On February 18, 2021, the undersigned counsel met and conferred telephonically with

Plaintiff’s counsel regarding the filing of a motion for a protective order to temporarily stay

discovery and vacate all deadlines in the February 16, 2021 Notice. Plaintiff’s counsel stated he

would not provide consent unless Defendant agreed to allow third-party jurisdictional discovery.

Defendant will not accept this condition because, as explained in the motion to dismiss, there is

no basis for the exercise of personal jurisdiction over Defendant based on any alleged conduct of

its wholly-owned subsidiaries or the independent telemarketing vendors hired by the subsidiaries.

Accordingly, Defendant files this motion opposed.

       To date, the parties have not conducted a Rule 26(f) conference or prepared a joint

discovery and case management plan, no discovery has taken place, no discovery has been served

or is pending, and this Court has not ruled on any motions other than motions seeking leave for

counsel to appear pro hac vice.

II.    LEGAL STANDARD

       This Court has broad discretion to control its docket and the discovery process. See Fed.

R. Civ. P. 26(c); Clinton v. Jones, 520 U.S. 681, 706 (1997). This includes the power to limit or

stay discovery until preliminary questions which may dispose of the case are answered. Bangas

v. Potter, 145 Fed. App’x 139, 141 (6th Cir. 2005). Limitations on pretrial discovery may be

particularly appropriate where claims may be dismissed based on legal determinations that could
                                                 2
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not have been altered by any further discovery. Gettings v. Bldg. Laborers Local 310 Fringe

Benefits Fund, 349 F.3d 300, 304 (6th Cir. 2003).

       In evaluating whether a stay of discovery is appropriate, the Court weighs the burden of

proceeding with discovery upon the party from whom discovery is sought against the hardship

which would be worked by a denial of discovery. Bowens v. Columbus Metro. Library Bd. of Tr.,

No. 2:10-cv-00219, 2010 WL 3719245, at *2 (S.D. Ohio Sept. 16, 2010). Where a stay—rather

than a prohibition—of discovery is sought, the burden on the party requesting the stay is less than

if it were requesting a total freedom from discovery. Williamson v. Recovery Ltd. P’ship, No.

2:06-cv-0292, 2010 WL 546349, at *1 (S.D. Ohio Feb. 10, 2010).

III.   ARGUMENT

THIS COURT SHOULD ENTER A PROTECTIVE ORDER TO STAY DISCOVERY
AND VACATE THE DEADLINES IN THE NOTICE PENDING RESOLUTION OF
DEFENDANT’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION.

       A.      Without a Temporary Stay of Discovery, Defendant and This Court Will Be
               Needlessly Burdened with the Unnecessary Expenditure of Substantial Time
               and Resources.

       It would be unduly burdensome for Defendant to proceed with costly discovery while its

dispositive motion is pending. Bowens, 2010 WL 3719245, at *2. It would also be an inefficient

use of party and judicial resources to proceed with discovery and to have to resolve potential

discovery issues, which would be mooted if (and very likely when) this Court dismisses this action

for lack of personal jurisdiction. Id.

       B.      A Temporary Stay of Discovery Will Not Prejudice Plaintiff.

       Plaintiff will not suffer any significant prejudice if the Court grants a temporary stay and

vacates the deadlines in the Notice. Id. The motion to dismiss is fully briefed and there is no

reason to believe the Court will not rule on Defendant’s motion to dismiss in its usual prompt and

timely fashion. In addition, Plaintiff’s Complaint does not allege facts supporting actual, out-of-

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pocket damages—he seeks only statutory damages for the alleged telemarketing calls. And

because discovery has not yet started and a scheduling order has not yet been entered by this Court,

a temporary stay will not disrupt the orderly progression of the action.

       C.      Defendant Risks a Potential Waiver of Its Personal Jurisdiction Challenge by
               Participating in the Discovery Process Prior to Resolution of its Motion to
               Dismiss.

       A defendant may waive a personal jurisdiction challenge if its submissions, appearances,

and filings give the plaintiff a reasonable expectation that the defendant will defend the suit on the

merits or cause the court to go to some effort that would be wasted if personal jurisdiction is later

found lacking. Means v. U.S. Conference of Catholic Bishops, 836 F.3d 643, 648 (6th Cir. 2016).

       Here, Defendant fully intends to preserve its personal jurisdiction challenge. Defendant’s

willful participation in the pretrial discovery process would undermine this intention. Means, 836

F.3d at 648. It would also provide Plaintiff with an expectation that Defendant will defend this

action on the merits. Id. Further, it would make the Court go to wasted effort to review and

evaluate a joint discovery and case management plan, convene a preliminary pretrial conference,

and enter a scheduling order if the Court determines that personal jurisdiction is lacking. Id. That

is especially the case here, where, as Defendant established in its motion to dismiss, two sister

federal districts previously dismissed similar actions brought against Defendant at the pleadings

stage. (ECF No. 7, at § II.C; ECF Nos. 7-3, 7-4, 7-5, 7-6, 7-7).

       D.      This Court Should Alternatively Reset the Deadlines in the Conference
               Order to Prevent Inadvertent Violation by the Parties.

       While the Court considers and decides whether to grant the foregoing motion to stay and

vacate, and should the Court decide not to stay all discovery during pendency of the motion to

dismiss (Defendant argues the Court should so stay and vacate), Defendant respectfully submits

that the Court should at least reset the upcoming deadlines and conference date in the Notice. This


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relief is necessary to prevent the parties from inadvertently violating the deadlines in the Notice

and Federal Rule of Civil Procedure 26(f) while awaiting a decision on this motion and the motion

to dismiss, and for the sake of judicial and party economy.

IV.    CONCLUSION

       For each of the foregoing reasons, Defendant Spinnaker Resorts, Inc. respectfully requests

that this Court enter an Order (1) temporarily staying all discovery, and (2) vacating the February

16, 2021 Notice of Preliminary Pretrial Conference and all deadlines contained therein, until after

the Court rules on Defendant’s Motion to Dismiss, and for all other relief deemed just and proper.

Dated: February 19, 2021

                                             Respectfully submitted,



                                             /s/ James H. Gordon
                                             James H. Gordon – Trial Attorney (0068454)
                                             Jeremy R. Kopp (0090577)
                                             ANSA ASSUNCAO, LLP
                                             Two Miranova Place, Suite 300
                                             Columbus, Ohio 43215
                                             T: (614) 441-8682/4095
                                             F: (614) 441-4471
                                             james.gordon@ansalaw.com
                                             jeremy.kopp@ansalaw.com
                                                     - and –
                                             Robert A. Assuncao (pro hac vice)
                                             Steven F. Gooby (pro hac vice)
                                             ANSA ASSUNCAO, LLP
                                             100 Matawan Road, Suite 410
                                             Matawan, New Jersey 07747
                                             T: (732) 993-9850
                                             F: (732) 993-9851
                                             robert.assuncao@ansalaw.com
                                             steven.gooby@ansalaw.com

                                             Attorneys for Defendant
                                             Spinnaker Resorts, Inc.


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                             CERTIFICATE OF SERVICE

      I hereby certify that on this 19th day of February, 2021, the foregoing Motion and

Memorandum in Support were served via the CM/ECF filing upon the following:

                                 Michael C. Lueder, Esq.
                              HANSEN REYNOLDS LLC
                              301 North Broadway, Suite 400
                               Milwaukee, Wisconsin 53202
                                   T: (414) 455-7676
                                   F: (414) 273-8476
                              mlueder@hansenreynolds.com

                                          -and-

                                 Anthony Paronich, Esq.
                                PARONICH LAW, P.C.
                              350 Lincoln Street, Suite 2400
                              Hingham, Massachusetts 02043
                                   T: (508) 221-1510
                               anthony@paronichlaw.com

                                   Counsel for Plaintiff


                                         /s/ James H. Gordon
                                         Attorney for Defendant




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